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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------X

 JORGE DANIEL PEREZ, individually and on behalf of
 others similarly situated,
                                                                      Civil Action No. 20 Civ. 4955 (SLC)
                                    Plaintiff,

                   -against-                                                 JUDGMENT

 82ND STREET GROCERY INC. (D/B/A WEST
 82ND GROCERY INC.), PARAMJIT SINGH, and
 LAKI SINGH,
                       Defendants.

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                                                 JUDGMENT

        On October 19, 2020 Plaintiff filed a notice of acceptance of offer of judgment pursuant to

Rule 68 of the Federal Rules of Civil Procedure;

       NOW, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

        That the Plaintiff JORGE DANIEL PEREZ, have judgment against 82ND STREET

GROCERY INC. (D/B/A WEST 82ND GROCERY INC.), PARAMJIT SINGH, and LAKI

SINGH (collectively “Defendants”), jointly and severally, in the amount of $100,000, (One

Hundred Thousand Dollars) which is inclusive of attorneys’ fees and costs.



                                    Plaintiff Jorge Daniel Perez has accepted Defendants' Rule 68
                                    Offer of Judgment. (ECF Nos. 17 [Notice of Acceptance]; 17-1
                                    [Offer of Judgment]).   Accordingly, the Clerk of Court is
                                                   _____________________________
                                    respectfully directed to enter judgment against Defendants and
                                    to deem this matter closed.

                                    SO-ORDERED 10/20/2020
